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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA


 DISABILITY RIGHTS LOUISIANA,                                CIVIL ACTION NO.
                                                          3:21-CV-00422-SDD-EWD
                Plaintiff,


        v.                                                JUDGE SHELLY D. DICK

                                                    MAGISTRATE JUDGE ERIN WILDER
 DR. COURTNEY N. PHILLIPS, IN HER                             DOOMES
 OFFICIAL CAPACITY AS THE
 SECRETARY OF THE LOUISIANA
 DEPARTMENT OF HEALTH

                Defendant,


                   UNOPPOSED EX PARTE MOTION TO CONTINUE
                            STATUS CONFERENCE

       NOW INTO COURT, through undersigned counsel, comes Defendant, Dr. Courtney N.

Phillips, in her official capacity as Secretary of the Louisiana Department of Health, who moves

this Court to continue the status conference that is scheduled for December 14, 2021. In support

of her request, Defendant presents the following:

                                               1.

       On November 4, 2021, the parties participated in a settlement conference, wherein

Defendant was ordered to produce the remaining documents requested by Plaintiff, Disability

Rights Louisiana, by November 12, 2021.

                                               2.

       On November 12, 2021, Defendant provided Plaintiff with the remaining documents

requested through Defendant’s secure records portal. Plaintiff has acknowledged receipt of the

documents.
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                                                3.

       Presently, the parties are still negotiating a possible settlement. While an agreement has

not yet been reached, Defendant anticipates that an agreement will be forthcoming in the next

several weeks.

                                                4.

       In the interest of the Court’s time, and because the parties are still actively engaged in

settlement negotiations, Defendant requests that the December 14, 2021 status conference be

continued.

                                                5.

       Plaintiff has indicated that it has no opposition to continuing the December 14, 2021 status

conference.

       WHEREFORE, Defendant, Dr. Courtney N. Phillips, in her official capacity as Secretary

of the Louisiana Department of Health, prays that her Motion to Continue Status Conference be

granted and that the December 14, 2021 status conference is continued to a later date.

                                                     Respectfully submitted:



                                                     ______________________________
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                                                     Attorneys for Defendant, Dr. Courtney N.
                                                     Phillips, in her official capacity as the
                                                     Secretary of the Louisiana Department of
                                                     Health


                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 10, 2021, I electronically filed the foregoing

Motion with the Clerk of Court via the CM/ECF system which will send a notice of electronic

filing to all counsel of record.



                                   ______________________________
                                          JESSICA L. MOTT
